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Attorneys for Plaintiffs
Sun Pharmaceutical Industries Ltd. and
Sun Pharmaceutical Industries, Inc.


                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

SUN PHARMACEUTICAL INDUSTRIES
LTD., and SUN PHARMACEUTICAL
INDUSTRIES, INC.,

                       Plaintiffs,                Civil Action No. __________

                  v.

NOVARTIS PHARMACEUTICALS CORP.,
ALCON PHARMACEUTICALS LTD. and
NOVARTIS AG,

                       Defendants.

                  SUN PHARMACEUTICAL INDUSTRIES LTD. AND
                   SUN PHARMACEUTICAL INDUSTRIES, INC.’S
                   COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiffs Sun Pharmaceutical Industries Ltd. (“SPIL”) and Sun Pharmaceutical

Industries, Inc. (“SPII”) (collectively, “Sun”), by and through their counsel, respectfully
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submit this Complaint for Declaratory Judgment against Defendants Novartis Pharmaceutical

Corp. (“Novartis”), Novartis AG, (“Novartis AG”) and Alcon Pharmaceuticals Ltd. (“Alcon”)

(collectively, “Defendants”). In support thereof, Sun alleges as follows:

                                 NATURE OF THE ACTION

       1.      This action is based on the patent laws of the United States, Title 35 of the United

States Code and the Declaratory Judgment Act, 28 U.S.C. §§2201 and 2202 and seeks declaratory

judgment Sun’s proposed products in Abbreviated New Drug Application (“ANDA”) No. 210470

do not and will not infringe any valid and enforceable claim of U.S. Patent Nos. 9,402,805 (“the

’805 patent”), 9,345,714 (“the ’714 patent”), 9,149,486 (“the ’486 patent”), and 8,846,650 (the

’650 patent”) and the claims of the ‘805 patent are invalid for failure to satisfy one or more

provisions of Title 35 of the United States Code, including but not limited to, 35 U.S.C. §§ 102,

103 and/or 112, and/or based on other judicially created bases for invalidation.

                                         THE PARTIES

       2.      Plaintiff SPIL is a corporation organized and existing under the laws of India,

with its principal place of business in Mumbai, India.

       3.      Plaintiff SPII is a corporation organized and existing under the laws of the State

of Michigan, United States, with its principal place of business in the Princeton, New Jersey.

SPII is a wholly owned subsidiary of SPIL.

       4.      On information and belief, Novartis AG is a corporation organized and existing

under the laws of Switzerland, having an office and place of business at Lichtstrasse 35, CH-

4056 Basel, Switzerland.

       5.      On information and belief, Defendant Alcon is a corporation organized and

existing under the laws of Switzerland, having a principal place of business at Rue Louis d’Affry

6, 1701 Fribourg, Switzerland. On information and belief, Alcon is a wholly owned subsidiary of
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Novartis AG.

        6.      On information and belief, Defendant Novartis Pharmaceuticals Corp. is a

corporation organized and existing under the laws of the State of Delaware, having principal

place of business at 59 Route 10, East Hanover, New Jersey 07936. On information and belief,

Novartis Pharmaceuticals Corp. is also a wholly owned subsidiary of Novartis AG.

        7.      Novartis is the holder of NDA 021537 and Defendants sell Ciprodex® Sterile

Otic Suspension (“Ciprodex”) in this judicial district and throughout the United States.

                                 JURISDICTION AND VENUE

        8.      This is a civil action regarding allegations of patent infringement arising under the

patent laws of the United States, Title 35 of the United States Code, in which Sun also seeks

declaratory relief under the Declaratory Judgment Act. Thus, the Court has subject matter

jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1338, 2201 and 2202.

        9.      An actual controversy exists for declaratory judgment between Sun and

Defendants by virtue of Defendants’ listing of the ’805, ’714, ’486 and ’650 patents in the

Orange Book for Ciprodex, Sun’s filing of ANDA No. 210470 (the “Sun ANDA”) with FDA

under § 505(j) of the Federal Food, Drug and Cosmetic Act, 21 U.S.C. § 355(j) for a generic

version of otic suspension formulated with dexamethasone and ciprofloxacin bioequivalent to

Defendants’ drug Ciprodex.

        10.     Sun contends it has a right to engage in making, using, offering to sell, and selling

its products described in the Sun ANDA without license from Defendants.

        11.     This Court has personal jurisdiction over Defendants because Defendants conduct

substantial business in, and have regular and systematic contact with, the state of New Jersey,

including this District.

        12.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Defendants
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are subject to personal jurisdiction in this District.

                                REGULATORY BACKGROUND

        13.     In 1984, Congress passed the Drug Price Competition and Patent Term

Restoration Act, commonly referred to as the Hatch-Waxman Act. See 21 U.S.C. § 355 and 35

U.S.C. §§ 156 and 271(e). The Hatch-Waxman Act was intended to encourage generic-drug

competition while leaving intact incentives for research and development of new drugs by

“branded” drug companies. See H.R. Rep No. 98-857, pt. 1 at 14-15 (1984). The Hatch-

Waxman Act was designed to stem the rising cost of prescription drugs by bringing less

expensive generic drugs to market faster.

        14.     Pursuant to the Hatch-Waxman Act, a brand-name drug sponsor seeking FDA

approval of a new drug must submit a New Drug Application (“NDA”). See 21 U.S.C. § 355.

The NDA must include specific data concerning the safety and effectiveness of the drug, as well

as identification of every patent that claims the “drug or method of using the drug.”

        15.     The Hatch-Waxman Act simplified the regulatory hurdles for prospective generic

manufacturers by eliminating the need to file a lengthy and costly NDA in order to obtain FDA

approval to sell a generic equivalent of a marketed drug. Instead, FDA provides an expedited

review process by which generic manufacturers may file an Abbreviated New Drug Application

(“ANDA”).

        16.     The ANDA relies on the scientific findings of safety and effectiveness included

by the brand-name drug manufacturer in the original NDA. The ANDA filer must demonstrate

to FDA the proposed generic product is bioequivalent to the reference listed drug (“RLD”).

        17.     When FDA approves a brand-name manufacturer’s NDA, FDA publishes in the

“Orange Book” any patents the brand-name manufacturer alleges can be reasonably asserted

against a generic equivalent. 21 U.S.C. § 355(j)(7)(A)(iii). The listing of patents in the Orange
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Book by FDA is a ministerial act. FDA does not check the facts supplied to it by the brand-name

manufacturer.

        18.     After NDA approval by FDA, the NDA holder may list additional new patents in

the Orange Book as being related to the drug the subject of the NDA. The brand manufacturer

must certify the new patents claim either the approved drug or approved methods of the using the

drug.

        19.     To obtain FDA approval of an ANDA (and thus the right to sell a generic version

of a branded drug without receiving a license from the NDA holder), the ANDA must contain

one of four certifications for each patent listed in the Orange Book for the RLD: (i) there are no

patents listed in the Orange Book; (ii) any listed patent has expired; (iii) the patent will have

expired before the generic manufacture is seeking to market its generic product; or (iv) the patent

is invalid, unenforceable or will not be infringed by the manufacture, use or sale of the generic

drug for which the ANDA is submitted. 21 U.S.C. § 355(j)(2)(A)(vii)(I-IV). The last of these is

commonly referred to as a paragraph IV certification. If, however, the RLD claims a method of

use for which the ANDA applicant does not seek approval, the ANDA must contain a statement

that the method of use patent does not claim such a use. 21 U.S.C. § 355( j)(2)(A)(viii).

        20.     An ANDA applicant who files a paragraph IV certification must notify both the

patent holder and NDA holder of its paragraph IV certification. See 21 U.S.C. § 355(J)(2)(B)(i).

        21.     An ANDA applicant may bring a declaratory judgment action for invalidity

and/or non-infringement of an Orange Book-listed patent if the NDA holder does not sue the

ANDA holder within 45 days of receiving notice of the ANDA holder’s paragraph IV

certification. 21 U.S.C. § 355(J)(5)(C).

                           SPECIFIC FACTUAL ALLEGATIONS

        22.     The ’805 patent, entitled “Method of Treating Middle Ear Infections,” was issued
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on August 2, 2016. As per the face of the patent, the inventors of the subject matter claimed in

the ’805 patent are G. Michael Wall and Peter J. Conroy, and Alcon is the purported assignee of

record. Upon information and belief, Novartis AG is now the assignee of the ’805 patent. A true

and correct copy of the ’805 patent is attached hereto as Exhibit A.

       23.     The ’805 patent purports to claim aqueous suspension formulations containing

dexamethasone and ciprofloxacin for the treatment of middle ear infections.

       24.     The ’714 patent, entitled “Method of Treating Middle Ear Infections” was issued

on May 24, 2016. As per the face of the patent, the inventors of the subject matter are G.

Michael Wall and Peter J. Conroy, and Alcon is the purported assignee of record. Upon

information and belief, Novartis AG is now the assignee of the ’714 patent. A true and correct

copy of the ’714 patent is attached here to as Exhibit B.

       25.     The ’714 patent purports to claim a method of treating middle ear infections in a

human patients diagnosed with otitis media and an open tympanic membrane.

       26.     The ’486 patent, entitled “Method of Treating Middle Ear Infections” was issued

on October 6, 2015. As per the face of the patent, the inventors of the subject matter are G.

Michael Wall and Peter J. Conroy, and Alcon is the purported assignee of record. Upon

information and belief, Novartis AG is now the assignee of the ’486 patent. A true and correct

copy of the ’486 patent is attached hereto as Exhibit C.

       27.     The ’486 patent purports to claim a method of treating patients with a middle ear

infection in patients diagnosed with otitis media and an open tympanic membrane.

       28.     The ’650 patent, entitled “Method of Treating Middle Ear Infections” was issued

on September 30, 2014. As per the face of the patent, the inventors of the subject matter are G.

Michael Wall and Peter J. Conroy, and Alcon is the purported assignee of record. Upon
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information and belief, Novartis AG is now the assignee of the ’650 patent. A true and correct

copy of the ’650 patent is attached hereto as Exhibit D.

         29.     The ’650 patent purports to claim a method of treating patients with a middle ear

infection in patients diagnosed with otitis media and an open tympanic membrane.

         30.     Defendants market and sell otic suspension formulated with dexamethasone and

ciprofloxacin under the brand name Ciprodex.

         31.     Defendants submitted an NDA to FDA for Ciprodex otic suspension for the

treatment of acute Otitis Media in pediatric patients and acute Otitis Externa in pediatric, adult

and elderly patients. 1 On information and belief, NDA No. 21537 was approved by FDA on July

18, 2003 for Ciprodex otic suspensions in the strength of ciprofloxacin 0.3% and dexamethasone

0.1%.

         32.     The ’805, ’714, ’486, and ’650 patents are listed in FDA’s Approved Drug

Products with Therapeutic Equivalence Evaluations (commonly known as the “Orange Book”)

as covering Ciprodex otic suspension. The Sun ANDA was filed with FDA under § 505(j) of the

Federal Food, Drug and Cosmetic Act, 21 U.S.C. § 355(j).

         33.     SPII is the agent for the purposes of the Sun ANDA and submitted the Sun

ANDA on SPIL’s behalf with FDA seeking approval to manufacture and sell generic versions of

otic suspension formulated with dexamethasone and ciprofloxacin that are bioequivalent to

Defendants’ drug Ciprodex.

         34.     Defendants caused six patents to be listed in FDA’s Orange Book as

covering Ciprodex otic suspension: U.S. Patent No. 6,284,804 (“the ’804 patent”), U.S. Patent

No. 6,359,016 (“the ’016 patent”), the ’650 patent, the ’486 patent, the ’714 patent, and the ’805



1
    Novartis Pharmaceuticals Corp. is listed as the owner of Defendants’ NDA.
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patent.     As a result, under the Hatch-Waxman Act, Sun was required to submit patent

certifications to the ’804, ’016, ’650, ’486, ’714, and ’805 patents.

          35.   The Sun ANDA contains a paragraph III certification to the ’804 and the ’016

patents certifying Sun will wait until the August 10, 2020 expiration of the ’804 and the ’016

patents to begin marketing Sun’s proposed product.

          36.   The Sun ANDA contains a Paragraph IV certification that Sun’s proposed product

will not infringe claims 1-12, 16, 18, and 22 of the ’805 patent and/or claims 1-12, 16, 18, and 22

of the ’805 patent are invalid or unenforceable.

          37.   The Sun ANDA further contains a statement pursuant to 21 U.S.C. §

355(j)(2)(A)(viii) that Sun does not seek approval for a method of use covered by claims 13, 14,

15, 17, 19, 20, and 21 of the ’805 patent.

          38.   The Sun ANDA contains a statement pursuant to 21 U.S.C. § 355(j)(2)(A)(viii)

that the ’650, ’486, and ’714 patents do not claim a use for which Sun seeks approval.

          39.   Pursuant to Sun’s paragraph IV certification, Sun seeks approval to engage in the

commercial manufacture, use or sale of otic suspension formulated in the strength of

ciprofloxacin 0.3% and dexamethasone 0.1% prior to the expiration of the ’805 patent.

          40.   On June 5, 2017, Sun notified Defendants of the paragraph IV certification for

claims 1-12, 16, 18, and 22 of the ’805 patent and the § 355(j)(2)(A)(viii) statement with respect

to claims 13, 14, 15, 17, 19, 20, and 21 of the ’805 patent, including the preliminary legal and

factual basis for its position of non-infringement and invalidity and provided an Offer of

Confidential Access to the Sun ANDA (the “Notice Letter”).

          41.   Neither Defendant requested access to the Sun ANDA under the terms of a

negotiated Offer of Confidential Access, and neither Defendant sued Sun for patent infringement
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within 45 days of receiving notice of Sun’s paragraph IV certification.

       42.     As neither Defendant filed suit against Sun for patent infringement, Sun requested

a covenant not to sue relating to the ’805, ’650, ’486 and ’714 patents, which Defendants have

refused to provide.

       43.     As Defendants have not sued Sun for patent infringement nor provided a covenant

not to sue, Sun files this declaratory judgment action seeking a declaration that the ‘805 is

invalid, unenforceable and/or that Sun ANDA products will not infringe the ’805 patent in order

to enable Sun to bring its products to market at the earliest possible date allowed under

applicable statutory and FDA regulatory provisions.

       44.     Sun believes the claims of the ’805 patent are not infringed, are invalid and/or are

unenforceable. Absent a declaration of non-infringement, invalidity and/or unenforceability, the

listing of the ’805 patent in the Orange Book will effectively deny Sun an economic opportunity

to enter the marketplace and leave Defendants open to suing Sun at any time before the

expiration of the ’805 patent on September 13, 2022. Accordingly, an actual controversy exists

between Sun and Defendants as to whether the Sun ANDA infringes any valid and enforceable

claim of the ’805 patent.

       45.     Sun believes the remaining claims of the ‘805 patent are not infringed by the Sun

ANDA or Sun ANDA product as Sun does not seek approval for a method of use covered by

claims 13, 14, 15, 17, 19, 20, and 21 of the ’805.

       46.     Sun believes the claims of the ’650, ’486, and ’714 patents are not infringed by

the Sun ANDA or Sun ANDA product as those patents do not claim a use for which Sun seeks

approval.
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                                             COUNT I

  (DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ’805 PATENT)

       47.     Sun hereby incorporates by reference its allegations contained in paragraphs 1

through 46 of this Complaint as though fully set forth herein.

       48.     This claim arises under the Patent Laws of the United States, 35 U.S.C. § 1 et

seq., the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, and the Hatch-Waxman Act,

21 U.S.C. § 355(j)(5)(C).

       49.     Defendants have listed the ’805 patent in the Orange Book as covering their

Ciprodex otic suspension formulations containing dexamethasone and ciprofloxacin.

       50.     Sun has filed an ANDA with a paragraph IV certification stating claims 1-12, 16,

18, and 22 of the ’805 patent are not infringed by Sun and/or are invalid and unenforceable.

       51.     Sun has filed an ANDA with a statement pursuant to 21 U.S.C. §

355(j)(2)(A)(viii) that Sun does not seek approval for a method of use covered by claims 13, 14,

15, 17, 19, 20, and 21 of the ’805 patent.

       52.     Sun intends to sell otic suspension formulations containing dexamethasone and

ciprofloxacin, as described in the Sun ANDA, when it obtains final FDA approval.

       53.     There is a real, actual and continuing justiciable case and controversy between

Sun and Defendants regarding the infringement of the ’805 patent.

       54.     The ’805 patent will not be infringed by the manufacture, use or sale of generic

otic suspension formulations containing dexamethasone and ciprofloxacin for which Sun has

submitted the Sun ANDA.

       55.     Accordingly, Sun seeks and is entitled to a judicial declaration that the

manufacture, sale or use of Sun’s Ciprofloxacin 0.3% and Dexamethasone 0.1% Otic

Suspension, the subject of the Sun ANDA, will not infringe, directly or indirectly, any valid
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claim of the ’805 patent.

                                            COUNT II

        (DECLARATORY JUDGMENT OF INVALIDITY OF THE ’805 PATENT)

       56.      Sun incorporates by reference Paragraphs 1-55 of its Complaint as if fully set

forth herein.

       57.      There is an actual, substantial and continuing case or controversy between Sun

and Defendants regarding, inter alia, the invalidity of the ‘805 patent.

       58.      For at least the reasons set forth in the Notice Letter, one or more of the claims of

the ‘805 patent are invalid for failure to comply with one or more of the requirements set forth in

35 U.S.C. § 101, et. seq., including, e.g., §§ 102, 103, 112, and/or other judicially created bases

for invalidation.

       59.      Pursuant to Federal Rule of Civil Procedure 57 and 28 U.S.C. §§2201 et seq., Sun

is entitled to declaratory judgment that one or more claims of the ‘805 patent are invalid.

                                            COUNT III

  (DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ’650 PATENT)

       60.      Sun incorporates by reference Paragraphs 1-59 of its Complaint as if fully set

forth herein.

       61.      This claim arises under the Patent Laws of the United States, 35 U.S.C. § 1 et

seq., the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, and/or the Hatch-Waxman

Act, 21 U.S.C. § 355(j)(5)(C).

       62.      Defendants have listed the ’650 patent in the Orange Book as covering their

Ciprodex otic suspension formulations containing dexamethasone and ciprofloxacin.

       63.      Sun has filed an ANDA with a statement pursuant to 21 U.S.C. §

355(j)(2)(A)(viii) that Sun does not seek approval for a method of use covered by claims of the
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’650 patent.

       64.      Sun intends to sell otic suspension formulations containing dexamethasone and

ciprofloxacin, as described in the Sun ANDA, when it obtains final FDA approval.

       65.      There is a real, actual and continuing justiciable case and controversy between

Sun and Defendants regarding the infringement of the ’650 patent.

       66.      The ’650 patent will not be infringed by the manufacture, use or sale of generic

otic suspension formulations containing dexamethasone and ciprofloxacin for which Sun has

submitted the Sun ANDA.

       67.      Accordingly, Sun seeks and is entitled to a judicial declaration that the

manufacture, sale or use of Sun’s Ciprofloxacin 0.3% and Dexamethasone 0.1% Otic

Suspension, the subject of the Sun ANDA, will not infringe, directly or indirectly, any valid

claim of the ’650 patent.

                                          COUNT IV

  (DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ’486 PATENT)

       68.      Sun incorporates by reference Paragraphs 1-67 of its Complaint as if fully set

forth herein.

       69.      This claim arises under the Patent Laws of the United States, 35 U.S.C. § 1 et

seq., the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, and/or the Hatch-Waxman

Act, 21 U.S.C. § 355(j)(5)(C).

       70.      Defendants have listed the ’486 patent in the Orange Book as covering their

Ciprodex otic suspension formulations containing dexamethasone and ciprofloxacin.

       71.      Sun has filed an ANDA with a statement pursuant to 21 U.S.C. §

355(j)(2)(A)(viii) that Sun does not seek approval for a method of use covered by claims of the

’486 patent.
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       72.     Sun intends to sell otic suspension formulations containing dexamethasone and

ciprofloxacin, as described in the Sun ANDA, when it obtains final FDA approval.

       73.     There is a real, actual and continuing justiciable case and controversy between

Sun and Defendants regarding the infringement of the ’486 patent.

       74.     The ’486 patent will not be infringed by the manufacture, use or sale of generic

otic suspension formulations containing dexamethasone and ciprofloxacin for which Sun has

submitted the Sun ANDA.

       75.     Accordingly, Sun seeks and is entitled to a judicial declaration that the

manufacture, sale or use of Sun’s Ciprofloxacin 0.3% and Dexamethasone 0.1% Otic

Suspension, the subject of the Sun ANDA, will not infringe, directly or indirectly, any valid

claim of the ’486 patent.

                                           COUNT V

  (DECLARATORY JUDGMENT OF NON-INFRINGEMENT OF THE ’714 PATENT)

       76.     Sun hereby incorporates by reference its allegations contained in paragraphs 1

through 75 of this Complaint as though fully set forth herein.

       77.     This claim arises under the Patent Laws of the United States, 35 U.S.C. § 1 et

seq., the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, and/or the Hatch-Waxman

Act, 21 U.S.C. § 355(j)(5)(C).

       78.     Defendants have listed the ’714 patent in the Orange Book as covering their

Ciprodex otic suspension formulations containing dexamethasone and ciprofloxacin.

       79.     Sun has filed an ANDA with a statement pursuant to 21 U.S.C. §

355(j)(2)(A)(viii) that Sun does not seek approval for a method of use covered by claims of the

’714 patent.

       80.     Sun intends to sell otic suspension formulations containing dexamethasone and
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ciprofloxacin, as described in the Sun ANDA, when it obtains final FDA approval.

       81.     There is a real, actual and continuing justiciable case and controversy between

Sun and Defendants regarding the infringement of the ’714 patent.

       82.     The ’714 patent will not be infringed by the manufacture, use or sale of generic

otic suspension formulations containing dexamethasone and ciprofloxacin for which Sun has

submitted the Sun ANDA.

       83.     Accordingly, Sun seeks and is entitled to a judicial declaration that the

manufacture, sale or use of Sun’s Ciprofloxacin 0.3% and Dexamethasone 0.1% Otic

Suspension, the subject of the Sun ANDA, will not infringe, directly or indirectly, any valid

claim of the ’714 patent.

                                      PRAYER FOR RELIEF

WHEREFORE, Sun prays for a judgment as follows:

       A.      Judgment against Defendants declaring the ’805 patent is not infringed by the

filing of the Sun ANDA;

       B.      Declaring the manufacture, marketing, use or offer for sale, sale and/or

importation of the products that are the subject of the Sun ANDA have not infringed, do not

infringe and would not, if marketed, infringe or induce or contribute to the infringement of

any valid claim of the ’805 patent.

       C.      Declaring the claims of the ’805 patent are invalid;

       D.      Declaring the manufacture, marketing, use or offer for sale, sale and/or

importation of the products that are the subject of the Sun ANDA have not infringed, do not

infringe and would not, if marketed, infringe or induce or contribute to the infringement of

any valid claim of the ’650 patent.

       E.      Declaring the manufacture, marketing, use or offer for sale, sale and/or
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importation of the products that are the subject of the Sun ANDA have not infringed, do not

infringe and would not, if marketed, infringe or induce or contribute to the infringement of

any valid claim of the ’486 patent.

       F.     Declaring the manufacture, marketing, use or offer for sale, sale and/or

importation of the products that are the subject of the Sun ANDA have not infringed, do not

infringe and would not, if marketed, infringe or induce or contribute to the infringement of

any valid claim of the ’714 patent.

       G.     Awarding Sun its costs, expenses and reasonable attorneys’ fees pursuant to 35

U.S.C. § 285; and

       H.     Awarding Sun such other and further relief as the Court deems just and

reasonable.

Dated: December 20, 2019

                                          Respectfully Submitted:

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                                          Attorneys for Plaintiffs
                                          Sun Pharmaceutical Industries Ltd. and
                                          Sun Pharmaceutical Industries, Inc.
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         CERTIFICATION PURSUANT TO LOCAL CIVIL RULES 11.2 & 40.1
       Pursuant to Local Civil Rules 11.2 and 40.1, I hereby certify that, to the best of my

knowledge, the matter in controversy is not the subject of any other action pending in any court

or of any pending arbitration or administrative proceeding.


Dated: December 20, 2019
                                             Respectfully Submitted:
                                             By: s/ Gregory D. Miller
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                                             Sun Pharmaceutical Industries, Inc.
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               CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 201.1

        I hereby certify that the above-captioned matter is not subject to compulsory arbitration

in that plaintiff seeks, inter alia, declaratory relief.


Dated: December 20, 2019


                                                 Respectfully Submitted:
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